Case 1:19-cv-00571-REB Document 6 Filed 02/27/19 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 KEITH HOBBS, individually and on behalf
 of all others similarly situated,
                                                   Case No. 1:19-cv-00571-REB
                        Plaintiff,
      v.                                           ENTRY OF APPEARANCE OF
                                                   TAYLOR T. SMITH
 HOMEADVISOR, INC. a Delaware
 corporation,

                        Defendant.


       To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I appear

in this case as counsel for Plaintiff Keith Hobbs and the alleged Classes.


       DATED at Denver, Colorado this 27th day of February, 2019.

                                                      ,
                                                             /s/ Taylor T. Smith

                                                             Taylor T. Smith
                                                             tsmith@woodrowpeluso.com
                                                             Woodrow & Peluso, LLC
                                                             3900 E Mexico Avenue, Suite 300
                                                             Denver, Colorado 80210
                                                             720-907-7628




                                                                                                 1
Case 1:19-cv-00571-REB Document 6 Filed 02/27/19 USDC Colorado Page 2 of 2




                                    CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2019 I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record.



                                                       /s/ Taylor T. Smith




                                                                                                  2
